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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

  UNITED STATES OF AMERICA               §
                                         §          No. 4:21CR48
  v.                                     §          Judge Mazzant
                                         §
  SHANLIN JIN                            §

                          NOTICE OF PLEA AGREEMENT

        The United States of America would show the Court that the defendant, Shanlin

 Jin, and the government have entered into a plea in relation to the charges now pending

 before this Court.

                                                 Respectfully submitted,

                                                 BRIT FEATHERSTON
                                                 UNITED STATES ATTORNEY

                                                  /s/
                                                 Marisa J. Miller
                                                 Assistant United States Attorney
                                                 New York Bar No. 4366415
                                                 101 East Park Boulevard, Suite 500
                                                 Plano, Texas 75074
                                                 (972)509-1201
                                                 (972)509-1209 (fax)
                                                 Marisa.Miller@usdoj.gov

                             CERTIFICATE OF SERVICE

       I certify that a copy of this document was served by electronic filing to opposing
 counsel on December 17, 2021.

                                                 /s/
                                                 Marisa J. Miller
